                                                                              Case:14-17484-KHT Doc#:2 Filed:05/29/14                            Entered:05/29/14 17:38:20 Page1 of 9
                                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                                                                            District of Colorado
                                                                     In Re
                                                                                                                                                       )
                                                                     Harding, Suzan Rene                                                               ) Case No:
                                                                                                                                                       )
                                                                                                                                                       ) Chapter 13
                                                                          Debtor(s)                                                                    )

                                                                                                                      CHAPTER 13 PLAN
                                                                                               INCLUDING VALUATION OF COLLATERAL AND CLASSIFICATION OF CLAIMS

                                                                     CHAPTER 13 PLAN: This chapter 13 plan dated May 29, 2014 supersedes all previously filed plans.

                                                                     NOTICE TO CREDITORS: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file an
                                                                     objection with the bankruptcy court by the deadline fixed by the court. (Applicable deadlines given by separate notice.) If you do not file
                                                                     a timely objection, you will be deemed to have accepted the terms of the plan, which may be confirmed without further notice or hearing.

                                                                     MOTIONS FOR VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER 11 U.S.C. § 506: (Check
                                                                     any applicable box(es)):
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                                                                              [ ]      This plan contains a motion for valuation of personal property collateral and determination of secured status under 11
                                                                                       U.S.C. § 506.

                                                                              [ ]      The debtor is requesting a valuation of real property collateral and determination of secured status under 11 U.S.C. §
                                                                                       506 by separate motion. List status of motion here (i.e.. date filed, date granted, to be filed contemporaneously, etc.)



                                                                     SECURED CLAIMS SUBJECT TO VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER 11
                                                                     U.S.C. § 506 (additional detail must be provided at Part IV of the plan):

                                                                      Name of Creditor                                                    Description of Collateral (pursuant to L.B.R. 3012-1)
                                                                      None


                                                                     I.   BACKGROUND INFORMATION

                                                                          A. Prior bankruptcies pending within one year of the petition date for this case:

                                                                      Case Number & Chapter                        Discharge or Dismissal / Conversion           Date
                                                                      09-27757-HRT                                 discharge                                     December 8, 2009

                                                                          B. The debtor(s):     [X] is eligible for a discharge; or
                                                                                                [ ] is not eligible for a discharge and is not seeking a discharge.

                                                                          C. Prior states of domicile:    within 730 days N/A
                                                                                                          within 910 days M/A

                                                                              The debtor is claiming exemptions available in the [X] state of Colorado or [ ] federal exemptions.
                                                                                                                                          1
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                                                                        D. The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C. § 101(14A). Notice shall be
                                                                           provided to these parties in interest:

                                                                            1. Spouse/Parent N/A
                                                                            2. Government N/A
                                                                            3. Assignee or other N/A

                                                                            The debtor [ ] has provided the Trustee with the address and phone number of the Domestic Support Obligation recipient or
                                                                            [X] cannot provide the address or phone number because it/they is/are not available.

                                                                        E. The current monthly income of the debtor, as reported on Interim Form B22C is[ ] below, [ ] equal to, or [X] above the
                                                                           applicable median income.

                                                                     II. PLAN ANALYSIS

                                                                        A. Total Debt Provided for under the Plan and Administrative Expenses

                                                                            1.       Total Priority Claims (Class One)
                                                                                     a.        Unpaid attorney’ s fees                                                   $ 2,250
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                                                                                               (Total attorney’
                                                                                                              s fees are estimated to be $ 4,650 of which $ 2,250 has been prepaid.)
                                                                                     b.        Unpaid attorney’ s costs (estimated)                                      $ 150
                                                                                     c.        Total Taxes                                                               $ 80,876
                                                                                               (Federal $ 73,000; State $ 7,876;Other $ 0)
                                                                            2.       Total of payments to cure defaults (Class Two)                                      $0
                                                                            3.       Total payment on secured claims (Class Three)                                       $ 19,047
                                                                            4.       Total of payments on unsecured claims (Class Four)                                  $ 3,834
                                                                            5.       Sub-total                                                                           $ 106,156
                                                                            6.       Total trustee's compensation (10% of debtor's payments)                             $ 10,616
                                                                            7.       Total debt and administrative expenses                                              $ 116,772

                                                                        B. Reconciliation with Chapter 7

                                                                     THE NET PROPERTY VALUES SET FORTH BELOW ARE LIQUIDATION VALUES RATHER THAN REPLACEMENT VALUES. THE
                                                                     REPLACEMENT VALUES MAY APPEAR IN CLASS THREE OF THE PLAN.

                                                                            1.       Assets available to Class Four unsecured creditors if Chapter 7 filed:
                                                                                     a.      Value of debtor's interest in non-exempt property      $0

                                                                                                                                                                       Less
                                                                                                                                      Less costs            x Debtor’s Exemption = Net
                                                                          Property                                      Value         of sale    Less Liens Interest   s         Value
                                                                          None


                                                                                     b.       Plus: value of property recoverable under avoiding powers: $ 1,000
                                                                                     c.       Less: estimated Chapter 7 administrative expenses: $ 0
                                                                                     d.       Less: amounts payable to priority creditors other than costs of administration: $80,876


                                                                                                                                       2
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                                                                                      e.       Equals: estimated amount payable to Class Four creditors if Chapter 7 filed (if negative, enter zero) $0

                                                                               2.     Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan plus any funds recovered from
                                                                                      “
                                                                                      other property”
                                                                                                    described in Section III.A.3 below. 3,834

                                                                     III. PROPERTIES AND FUTURE EARNINGS SUBJECT TO THE SUPERVISION AND CONTROL OF THE TRUSTEE

                                                                         A. The debtor submits to the supervision and control of the Trustee all or such portion of the debtor's future earnings or other
                                                                            future income as is necessary for the execution of the Plan, including:

                                                                               1.     Future earnings of $ 1,851 per month which shall be paid to the trustee for a period of approximately60 months,
                                                                                      beginning 6/30/2014.

                                                                       Amount                                      Number of Months                            Total
                                                                       1,851                                       18                                          33,318
                                                                       1,987                                       42                                          83,454
                                                                       One time payment and date

                                                                               2.     Amounts for the payment of Class Five post-petition claims included in above $ 0
                                                                               3.     Other property (specify): None
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                                                                     AT THE TIME THE FINAL PLAN PAYMENT IS SUBMITTED TO THE TRUSTEE, THE DEBTOR SHALL FILE WITH THE COURT
                                                                     THE CERTIFICATION REGARDING DOMESTIC SUPPORT OBLIGATIONS REQUIRED BY 11 U.S.C. § 1328(a) AND, IF NOT
                                                                     ALREADY FILED, INTERIM FORM B23 REGARDING COMPLETION OF FINANCIAL MANAGEMENT INSTRUCTION REQUIRED
                                                                     BY 11 U.S.C. § 1328(g)(1).

                                                                               B.     The debtor agrees to make payments under the Plan as follows:
                                                                     [X] DIRECT PAYMENT: From Debtor to Trustee
                                                                     [ ] VOLUNTARY WAGE ASSIGNMENT TO EMPLOYER:

                                                                     IV. CLASSIFICATION AND TREATMENT OF CLAIMS

                                                                     CREDITOR RIGHTS MAY BE AFFECTED. A WRITTEN OBJECTION MUST BE FILED IN ORDER TO CONTEST THE TERMS OF
                                                                     THIS PLAN. CREDITORS OTHER THAN THOSE IN CLASS TWO A AND CLASS THREE MUST FILE TIMELY PROOFS OF CLAIM
                                                                     IN ORDER TO RECEIVE THE APPLICABLE PAYMENTS.

                                                                         A. Class One –Claims entitled to priority under 11 U.S.C. § 507. Unless other provision is made in paragraph V.(C), each
                                                                     creditor in Class One shall be paid in full in deferred cash payments prior to the commencement of distributions to any other class
                                                                     (except that the payments to the Trustee shall be made by deduction from each payment made by the debtor to the Trustee) as follows:

                                                                               1.     Allowed administrative expenses
                                                                                      a. Trustee's compensation (10% of amounts paid by debtor under this Plan)          $ 10,616
                                                                                      b. Attorney's Fees (estimated and subject to allowance)                            $ 2,250
                                                                                      c. Attorney's Costs (estimated and subject to allowance)                           $ 150

                                                                               2.     Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 (if none, indicate)
                                                                                      a.      Domestic Support Obligations: A proof of claim must be timely filed in order for the Trustee to



                                                                                                                                        3
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                                                                                                  distribute amounts provided by the plan.

                                                                                       [ ]   Priority support arrearage: The debtor owes past due support to                                                     in
                                                                                                     the total amount of $               that will be paid as follows:

                                                                                       [ ]   Distributed by the Trustee pursuant to the terms of the Plan; or

                                                                                       [ ]   The debtor is making monthly payments via a wage order [ ] or directly [ ] (reflected on Schedule I or J) in the
                                                                                                   amount of $                 to                                          . Of that monthly amount, $
                                                                                                   is for current support payments and $                is to pay the arrearage.

                                                                                       [ ]   Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with the
                                                                                                     Court and submit to the Trustee an update of the required information regarding Domestic Support
                                                                                                     Obligations and the status of required payments.

                                                                                       b.         Federal Taxes                                                     $ 73,000
                                                                                       c.         State Taxes                                                       $ 7,876
                                                                                       d.         Other Taxes (describe):
                                                                                        None                                                                        $0
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                                                                                       e.         Other Class One Claims (if any) (describe):
                                                                                        None                                                                        $0


                                                                         B. Class Two –Defaults
                                                                              1.        Class Two A (if none, indicate) –Claims set forth below are secured only by an interest in real property that is the
                                                                     debtor's principal residence located at Residence at:1690 S Garfield St . Defaults shall be cured and regular payments shall be made:

                                                                                       [X] None

                                                                                                                                                                                    Regular
                                                                                                                                                                                    Payment
                                                                                                                                 Total              Total                           per month
                                                                                                                                 Default            Amount to No. of                to be Made     Date of
                                                                                                                                 Amount to Interest Cure      Months                Directly to    First
                                                                     Creditor                                                    be Cured Rate      Arrearage to Cure               Creditor       Payment

                                                                               2.        Class Two B (if none, indicate) –Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by an
                                                                     interest in real property that is the debtor's principal residence) or unsecured claims set forth below on which the last payment is due
                                                                     after the date on which the final payment under the Plan is due. Defaults shall be cured and regular payments shall be made:

                                                                                       [X] None


                                                                     Creditor                       Collateral                   Total     Interest Total     No. of               Regular         Date of
                                                                                                                                 Default   Rate     Amount to Months               Payment         First
                                                                                                                                 Amount to          Cure      to Cure              per month       Payment
                                                                                                                                 be Cured           Arrearage                      to be Made


                                                                                                                                            4
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                                                                                                                                                                                   Directly to
                                                                                                                                                                                   Creditor

                                                                              3.       Class Two C –Executory contracts and unexpired leases are rejected, except the following which are assumed:

                                                                                       [X] None

                                                                                                                                                                                   Regular
                                                                                                                                                                                   Monthly
                                                                                                                                                         Total                     Payment
                                                                                                                                                         Amount to No. of          Made
                                                                                                               Property, if any, Subject to the          Cure, if  Months          Directly to    Date of
                                                                     Other Party to Lease or Contract          Contract or Lease                         any       to Cure         Creditor       Payment

                                                                     IN THE EVENT THAT DEBTOR REJECTS THE LEASE OR CONTRACT, CREDITOR SHALL FILE A PROOF OF CLAIM OR
                                                                     AMENDED PROOF OF CLAIM REFLECTING THE REJECTION OF THE LEASE OR CONTRACT WITHIN 30 DAYS OF THE ENTRY
                                                                     OF THE ORDER CONFIRMING THIS PLAN, FAILING WHICH THE CLAIM MAY BE BARRED.

                                                                         C. Class Three –All other allowed secured claims (other than those designated in Classes Two A and Two B above) shall be
                                                                            divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:
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                                                                               1.        Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with FED. R. BANKR. P. 3012, 7004
                                                                     and L.B.R. 3012-1, the debtor has filed and served a separate motion for valuation of collateral and determination of secured status
                                                                     under 11 U.S.C. § 506 as to the real property and claims listed on page 1 of this plan and below. The plan is subject to the court’   s order
                                                                     on the debtor’  s motion. If the court grants the debtor’
                                                                                                                             s motion, the creditor will have an unsecured claim in either the amount of the debt
                                                                     as listed in the debtor’s schedules or on any allowed proof of claim filed by the creditor (whichever is greater). The creditors listed on
                                                                     page 1 and below shall retain the liens securing their claims until discharge under 11 U.S.C. § 1328 or payment in full.

                                                                                       [X] None


                                                                                                                                                                                                 Proof of
                                                                                                                                                                                 Amount of       Claim
                                                                                                                           Description of Collateral                             Debt as         amount, if
                                                                     Name of Creditor                                      (pursuant to L.B.R. 3012-1)                           Scheduled       any

                                                                               2.       Secured claims subject to 11 U.S.C. § 506 (Personal Property): The debtor moves the court, through this chapter
                                                                     13 plan, for a valuation of collateral and determination of secured status under 11 U.S.C. § 506 regarding the personal property and
                                                                     claims below. The creditors shall retain the liens securing their claimsuntil discharge under 11 U.S.C. §1328 or payment in full under
                                                                     nonbankruptcy law.

                                                                                           None

                                                                                       a.       The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the
                                                                                       allowed claim shall be treated as a general unsecured claim.




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                                                                                                                                                 Confirmatio Amount of Intere Adequate        Total
                                                                                                                                                 n Value of Debt as    st     Protection      Amount
                                                                     Creditor                            Description of Collateral               Collateral Scheduled Rate Payment            Payable

                                                                                       b.       The following creditors shall be paid the remaining balance payable on the debt over the period required to
                                                                                       pay the sum in full.

                                                                                                                                                 Confirmatio Amount of Intere Adequate        Total
                                                                                                                                                 n Value of Debt as    st     Protection      Amount
                                                                     Creditor                            Description of Collateral               Collateral Scheduled Rate Payment            Payable
                                                                                                         Residence at:1690 S Garfield St &
                                                                                                         1st Bank- checking, business
                                                                                                         checking, savings & king bed 75.,
                                                                     Internal Revenue Service            dresser 50., 2 night stands 20.         364,933    19,047     0.00%   0              19,047


                                                                                       If adequate protection payments are indicated, such payments will be made by the trustee to the creditors indicated
                                                                                       above until such time that superior class creditors are paid in full. Any adequate protection payments made will be
                                                                                       subtracted from the total amount payable. Unless otherwise provided, adequate protection payments will accrue from
                                                                                       the date of filing but will not be made until the creditor has filed a proof of claim.
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                                                                             3.        Secured claims to which 11 U.S. C. § 506 shall not apply (personal property): The following creditors shall retain
                                                                                       the liens securing their claims, and they shall be paid the amount specified which represents the remaining balance
                                                                                       payable on the debt over the period required to pay the sum in full:

                                                                                       [X] None


                                                                                                                                                                       Amount of          Total
                                                                                                                                                                       Debt as   Interest Amount
                                                                     Creditor                                          Description of Collateral                       Scheduled Rate     Payable

                                                                             4.        Property being surrendered: The debtor surrenders the following property securing an allowed secured claim to the
                                                                                       holder of such claim:

                                                                                       [X] None

                                                                                                                                                                               Anticipated Date of
                                                                     Creditor                                              Property                                            Surrender

                                                                                       Relief from the automatic stay to permit enforcement of the liens encumbering surrendered property shall be deemed
                                                                                       granted by the Court at the time of confirmation of this Plan. With respect to property surrendered, no distribution on
                                                                                       the creditor’
                                                                                                   s claim shall be made unless that creditor files a proof of claim or an amended proof of claim to take into
                                                                                       account the surrender of the property.

                                                                     IF DEBTOR IS PROPOSING TO MODIFY THE RIGHTS OF CREDITORS IN CLASS TWO AND/OR THREE, DEBTOR MUST
                                                                     SPECIFICALLY SERVE SUCH CREDITOR IN THE MANNER SPECIFIED IN FED. R. BANKR. P. 9014 AND 7004.

                                                                         D. Class Four –Allowed unsecured claims not otherwise referred to in the Plan. Class Four Claims are provided for in an


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                                                                             amount not less than the greater of:

                                                                             1.         The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth in Part II;
                                                                                        or
                                                                             2.         Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325(b)(1)-(4).

                                                                                        The monthly disposable income of $ 0 has been calculated on Form B22C (Chapter 13). Total disposable income is $
                                                                                        0 which is the product of monthly disposable income of 0 times the applicable commitment period of 60 months.

                                                                                        a.       [X] Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after
                                                                                                 payment by the Trustee of all prior classes; or

                                                                                        b.       [ ] Class Four claims are divided into more than one class as follows:



                                                                                                 A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C. § 523(a)(2), (4), or
                                                                                                 (6), will share pro-rata in the distribution to Class Four. Collection of the balance is stayed until the case is
                                                                                                 dismissed, converted to a Chapter 7 or discharge enters, unless ordered otherwise.

                                                                        E. Class Five (if none, indicate) –Post-petition claims allowed under 11 U.S.C. § 1305. Post-petition claims allowed under
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                                                                           11 U.S.C. § 1305 shall be paid as follows:


                                                                             [X] None

                                                                     V. OTHER PROVISIONS

                                                                        A. Payment will be made directly to the creditor by the debtor(s) on the following claims:

                                                                                                                                                                                   Monthly        No. of
                                                                                                                                                                                   Payment        Months to
                                                                     Creditor                                               Collateral, if any                                     Amount         Payoff
                                                                     Bellco Credit Union                                    2005 Honda Pilot 155k mi. (nada.com ave. trade-in)     336            18
                                                                     Calibur Home Loans, Inc.                               Residence at:1690 S Garfield St                        2,414          60

                                                                        B. The effective date of this Plan shall be the date of entry of the Order of Confirmation.

                                                                        C. Order of Distribution:

                                                                             1.         [X] The amounts to be paid to the Class One creditors shall be paid in full, except that the Chapter 13 Trustee’
                                                                                                                                                                                                       s fee
                                                                                        shall be paid up to, but not more than, the amount accrued on actual payments made to date. After payment of the
                                                                                        Class One creditors, the amounts to be paid to cure the defaults of the Class Two A, Class Two B and Class Two C
                                                                                        creditors shall be paid in full before distributions to creditors in Classes Three, Four, and Five (strike any portion of
                                                                                        this sentence which is not applicable). The amounts to be paid to the Class Three creditors shall be paid in full before
                                                                                        distributions to creditors in Classes Four and Five. Distributions under the plan to unsecured creditors will only be
                                                                                        made to creditors whose claims are allowed and are timely filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and
                                                                                        after payments are made to Classes One, Two A, Two B, Two C and Three above in the manner specified in Section



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                                                                                        IV.

                                                                               2.       [ ] Distributions to classes of creditors shall be in accordance with the order set forth above, except:



                                                                         D. Motions to Void Liens under 11 U.S.C. § 522(f).

                                                                         In accordance with Fed. R. Bankr. P. 4003(d), the debtor intends to file or has filed, by separate motion served in accordance with
                                                                         Fed. R. Bankr. P. 7004, a motion to void lien pursuant to 11 U.S.C. § 522(f) as to the secured creditors listed below:

                                                                                                                                                                                             Date of Order
                                                                                                                                                                                             Granting
                                                                                                                                                                             Date Motion to Motion or
                                                                     Creditor                                             Collateral, if any                                 Void Lien Filed Pending
                                                                     None


                                                                         E. Student Loans:

                                                                         [X]   No student loans
                                                                         [ ]   Student loans are to be treated as an unsecured Class Four claim or as follows:
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                                                                         F. Restitution:

                                                                         [X] No restitution owed.
                                                                         [ ] The debtor owes restitution in the total amount of $                     which is paid directly to
                                                                             in the amount of $                  per month for a period of          months.
                                                                         [ ] The debtor owes restitution to be paid as follows:



                                                                         G. Other: (list all additional provisions here):


                                                                     VI. REVESTMENT OF PROPERTY IN DEBTOR
                                                                     All property of the estate shall vest in the debtor at the time of confirmation of this Plan.

                                                                     VII. INSURANCE

                                                                     Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and will[X] will not [ ] (check one) be
                                                                     obtained and kept in force throughout the period of the Plan.

                                                                                                                                                                         Insurance Company, Policy No.
                                                                                                                                                           Coverage      and Agent Name, Address and
                                                                     Creditor to Whom This Applies              Collateral Covered                         Amount        Telephone No.
                                                                     Bellco Credit Union                        2005 Honda Pilot 155k mi. (nada.com ave.                 Progressive #80886643-0, Alliance Ins
                                                                                                                trade-in)                                                Serv, 5440 Ward Rd, #215, Arvada CO
                                                                                                                                                                         80002




                                                                                                                                             8
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                                                                     Calibur Home Loans, Inc.                  Residence at:1690 S Garfield St                               Safeco Insurance oY6804205, Alliance Ins
                                                                                                                                                                             Services, 5440 Ward Rd #215, Arvada CO
                                                                                                                                                                             80002

                                                                     [X]   Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.

                                                                     VIII. POST-CONFIRMATION MODIFICATION

                                                                     The debtor must file and serve upon all parties in interest a modified plan which will provide for allowed priority and allowed secured
                                                                     claims which were not filed and/or liquidated at the time of confirmation. The value of property to satisfy 11 U.S.C. § 1325(a)(4) may be
                                                                     increased or reduced with the modification if appropriate. The modification will be filed no later than one year after the petition date.
                                                                     Failure of the debtor to file the modification may be grounds for dismissal.

                                                                     Dated: May 29, 2014                                                         /s/ Rene Harding
                                                                                                                                                 Signature of Debtor
                                                                     Dated: May 29, 2014
                                                                                                                                                 Signature of Joint Debtor
                                                                     Dated: May 29, 2014                                                         /s/ Dennis H. Babiniec
                                                                                                                                                 Signature of Attorney
                                                                                                                                                 Dennis H. Babiniec 11926
                                                                                                                                                 Dennis H. Babiniec, P.C.
                                                                                                                                                 10701 Melody Dr., Ste 350
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                                                                                                                                                 Northglenn, CO 80234



                                                                                                                                                 attorneydennisb@gmail.com

                                                                                                                                     Commentary

                                                                     The entire Chapter 13 Plan must be completed and filed with the original and each amended chapter 13 plan. Do not delete any
                                                                     provision of this form. Mark provisions that do not apply as n/a. Other than expressing a more detailed structure for future earnings and
                                                                     payments in Part III.A.1., no other modifications are allowed and any additional non-contradictory provisions must be recited in Part V.
                                                                     G.




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